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Goode Ad Manager                                                                                                                                                 11


                    GOOGLE AD MANAGER



                    Introducing Google Ad Manager




                                         Since the acc uis Iron of Doub eC' ck over 10 years ago, weve continuously evolved our
                                         platforms to he c our partners grow t mair revenue and create stsm naole businesses w lh
                         ,               advertising. - mat's why, to the last ih-ee years, we've been doing ^^ore to bring
                                         DoubleClick Ad Exchange (AdX) and Doub=xClick for Publishers (DFP) together Into a truly
                    Jonathan BeRack
                                         unified platform. Today's DoubleClick has also evolved beyond our roots in the web to
                    'kector' pioar'
                                    et   become an ad platform for the next generation of content, from mobile applications by
                    Management
                                         developers like King. to multi platrorrn video from publishers like Cheddar

                                         With these changes. we needed a new name that cater reflects how our platform helps
                                         you earn more and protects your branc. wherever you audience is engaging end however
                                         advertisers are ook ng to work w=1h you. As we i n . =_  . is , that name is Google
                                         Ad Manage


                                         Over the next few n-onths, your11 era- seeing the Ad Manager na-e reflected across your
                                         existing ;oub eCl'cc 11= Read on to earm more about our journey and vision

                                         Not just an ad server or Sell-Side Platform
                                         (SSP)—a complete ad platform
                                         Au€ornation continues to change the way we co business, with advertisers looking to
                                         transact all their campaigns, guarantees or not, programmatically. That's why we broke
                                         away from thetraditional constraints 01 'ad servers' and'SSPs'to build new
                                         programmatic solutions directly into the product we now call Ad Manager-from our
                                         programmatic deals framework to features like Optimized Competition that help you
                                         maximize yield across reservations. private marketplaces, and the open auction.
                                         Ultimately. with Ad Manager, you gets complete ad p'atrorm that helps you earn more
                                         and grew revenue, no matter new you sell

                                         Optimizing revenue across all buyers
                                         When we launched Ad Exchange nearly a decade ago, we created a marketplace to he'a
                                         you earn more from reel-time competition for your inventory. Today's exchange's not just
                                         an auction, but also a complete sales channel. With Ad Manager, you can curate who has
                                         access to your Inventory alongside all your reservation and programmatic demand. and
                                         optimize your relationships for yield.

                                         So, with the integration of AdX into Ad Manager, we're retiring the Act Exchange brand
                                         The programmatic buyers and networks formerly called AdX buyers' will now be known
                                         as 'Authorized Buyers.' a namethat reflects the close re=ationship you have with these
                                         partners. You. s;an seeing ihe r;hingr• .n thin Ad Manager 111 Over the next severs=
                                         months.

                                         Monetizing the new places where people
                                         are watching, playing or engaging
                                         People now spend more time on their phones Than anywhere eta, and are watch ng more
                                         video-live or on demand-one variety of large and small screens. This shin has created




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                                                 new Opootu^rues fo- monetization, along w=Ih -ore challenges for managing ads
                                                 a. oss <i-intent screens, SDKs, and content distribution platforms.

                                                 Ad Manager gives you a single platform for delivering, measuring and optimizing ads
                                                 wherever your audience is engaging—including connected TVs, Accelerated Mobile
                                                Pages (AMP), mobile games and other apps, and platforms like You'rube and Apple
                                                News.

                                                 With Advanced TV solutions like Dynamic Ad Insertion for live and on demand video,
                                                 formats like native and six-second bumper ads, and yield optimization solutions like
                                                 rewarded mediation and Exchange Bidding for mobile apps, waive evolved Ad Manager
                                                 to keep up enth your customers and support your new distribution channels.

                                                Protecting you from bad actors
                                                Over the'ast year, the dgita' advertising industry has faced a lot of challenges, front
                                                brand safety toad fraud. These issues can degrade user experience with inapproprate
                                                ads and a^roving creatives—or, even worse, harm users with melware-laden ads, and
                                                hurt advertisers with invalid, domain-spoofed inventory and non-human bot traffic,

                                                 With Ad Manager, you can be confident the ads we deliver will respect your brand and
                                                 keep your users and advertisers safe. We have more than 30 controls to help you
                                                 manage the type o1 ads you glow to mare sure they meet your brand values. In 2017,
                                                 our industry-:eating seam detection and policy enforcement tools tco< down morethan
                                                 3.2 billion ads before they reached users. To ensure you dont lose money to domain
                                                 spoofing, Google was the first to integrate the IAB Techl ab's ads.txt standard into all our
                                                 ads platforms Rest assured, you have a partner invested In protecting your brand and
                                                 business as the industry eontln',:as +:+ r vo've.

                                                 A solid foundation for innovation



                                                                Google's complete and integrated ad platform
                                                                has helped accelerate revenue growth while
                                                                freeing our team to focus on important
                                                                relationships with our advertising partners and
                                                                users."

                                                                Chris Janz
                                                                Managing D rector. Fa'rax Australia




                                                 W m co-misted to making sure that Ad Manager supports your advertising business
                                                 hoth today and n the '..tore While we may be bicdi'g a fond fainwell to the Douo'eC, ck
                                                 name, wr'e exc=ted for the next chapter in ourjourney wi ^ yo.
                                                                                                             —one ;hats focused on
                                                 suslainab'e growth in an Industry where the only constant is change

                                                 POSTED IN: GOOOLI A rMANAGER




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                Google Ad Manager                         , ;       Digital-first advertising
                                                                                                      A Privacy-safe approach to                  RoNing out first price auctions to
                2019 Advanced TV                                    solutions for TV
                                                                                                      managing ad frequency                       Google Ad Manager partners
                Inventory Report                                    programmers




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